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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
(NORTHERN DIVISION)

---------------------------------------------------------------------- x
                                                                       :
DEMETRA STREET,                                                        :
                                                                       :
         216 Massie Street                                             :
         Lexington, VA 24450                                           :
         (Rockbridge County)                                           :
         Virginia 24450                                                :
                                             Plaintiff,                :   Civil Action No. _________
                                                                       :
         -against-                                                     :
                                                                       :     COMPLAINT
WYLIE FUNERAL HOME, P.A.,                                              :
                                                                       :
         701 N. Mount Street                                           :
         (City of Baltimore)                                           :
         Baltimore, Maryland 21217                                     :
                                                                       :
         Serve: Charles J. Siegel                                      :
                  Suite 1200                                           :
                  20 South Charles Street                              :
                  Baltimore, Maryland 21201                            :
                  (Registered Agent), AND                              :
                                                                       :
WYLIE FUNERAL HOME, P.A.                                               :
OF BALTIMORE COUNTY,                                                   :
                                                                       :
         701 N. Mount Street                                           :
         (City of Baltimore)                                           :
         Baltimore, Maryland 21217                                     :
                                                                       :
         Serve: Blades & Rosenfeld, P.A.                               :
                  Charles J. Siegel                                    :
                  Suite 1200                                           :
                  20 South Charles Street                              :
                  Baltimore, Maryland 21201                            :
                  (Registered Agent),                                  :




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ALBERT P. WYLIE,                                                       :
                                                                       :
         6236 Gilston Park Road                                        :
         (Baltimore County)                                            :
         Catonsville (Baltimore), Maryland 21228                       :
                                                                       :
BRANDON M. WYLIE,                                                      :
                                                                       :
         9200 Liberty Road                                             :
         (Baltimore County)                                            :
         Randallstown, Maryland 21133                                  :
                                                                       :
DEVIN B. CONNER,                                                       :
                                                                       :
         701 N. Mount Street                                           :
         (City of Baltimore)                                           :
         Baltimore, Maryland 21217, and                                :
                                                                       :
TUVERLA T. LIVINGSTON,                                                 :
                                                                       :
         1033 W. Lexington Street                                      :
         (City of Baltimore)                                           :
         Baltimore, Maryland 21223,                                    :
                                                                       :
                                             Defendants.               :
---------------------------------------------------------------------- x


        Demetra Street (“Plaintiff”), for her complaint against Wylie Funeral Home, P.A., Wylie

Funeral Home, P.A. of Baltimore County, Albert P. Wylie, Brandon M. Wylie, Devin B. Conner,

and Tuverla T. Livingston (collectively “Defendants”), alleges as follows:

                                               THE PARTIES

1.      Plaintiff is an individual, a resident, and a domiciliary of the Commonwealth of Virginia.

2.      Defendant Wylie Funeral Home, P.A. (“Mount Street Home”) is a Maryland professional

corporation with its principal office located in the City of Baltimore, Maryland.




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3.      Defendant Wylie Funeral Home, P.A. of Baltimore County (“Randallstown Home”) is a

Maryland professional corporation with its principal office located in the City of Baltimore,

Maryland.

4.      Mount Street Home and Randallstown Home operate as one enterprise with two business

locations and hold themselves out to the public as a single business entity (Mount Street Home

and Randallstown Home are jointly and severally referred to herein as “Funeral Home”).

5.      Defendant Albert P. Wylie (“Albert Wylie”) is an adult individual who is a citizen and

resident of the State of Maryland. Albert Wylie is the founder, principal, and an owner of the

Funeral Home. At all times relevant hereto, Albert Wylie was an employee and agent of Funeral

Home.

6.      Defendant Brandon M. Wylie (“Brandon Wylie”) is an adult individual who is a citizen

and resident of the State of Maryland. Brandon Wylie is the Chief Executive Officer, principal,

and an owner of the Funeral Home. At all times relevant hereto, Brandon Wylie was an

employee and agent of Funeral Home.

7.      Defendant Devin B. Conner (“Conner”) is an adult individual who is a citizen and

resident of the State of Maryland. At all times relevant hereto, Conner was an employee and

agent of Funeral Home.

8.      Defendant Tuverla Livingston (“Livingston”) is an adult individual who is a citizen and

resident of the State of Maryland. At all times relevant hereto, Livingston was an employee and

agent of Funeral Home.




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                                 JURISDICTION AND VENUE

9.     The Court has subject-matter jurisdiction over this action based upon diversity of

citizenship pursuant to 28 U.S.C. § 1332. The matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between citizens of different states. For the

purposes of jurisdiction, Defendants Wylie Funeral Home, P.A. and Wylie Funeral Home, P.A.

of Baltimore County are each deemed to be citizens of Maryland as both are incorporated in the

State of Maryland and have their principal places of business in Maryland.

10.    Venue is proper in the United States District Court for the District of Maryland under 28

U.S.C. §§ 1391(b)(1); 1391(b)(2); and 1391(d) as to all the actions against all Defendants

because Maryland is the judicial district where all Defendants reside and where a substantial part

of the events or omissions giving rise to the Plaintiff’s claims occurred.

                                  NATURE OF THIS ACTION

11.    Defendants Wylie Funeral Home, P.A. and Wylie Funeral Home, P.A. of Baltimore

County operate funeral homes in the Baltimore metropolitan area as a single enterprise.

Defendants Albert Wylie and Brandon Wylie are principals, officers, board members, and

owners of the Funeral Home and direct and control all aspects of the Funeral Home’s business

enterprise. Defendants Conner and Livingston are licensed morticians and Funeral Home

employees.

12.    On January 9, 2021, Plaintiff’s husband, Ivan T. Street (“Ivan”), died suddenly from

congestive heart failure. Plaintiff made written arrangements with Conner and Livingston at the

Mount Street Home for Ivan’s funeral services. Specifically, Plaintiff signed an authorization for

cremation, requested a memorial service, tendered a payment voucher and committed to pay for


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the remaining cost. Defendants did not abide by Plaintiff’s instructions but instead, without

Plaintiff’s knowledge or permission, buried Ivan’s body in a Baltimore cemetery. Defendants

concealed the burial from Plaintiff and the public and thereafter deceived Plaintiff by conducting

a mock memorial service featuring a sham funerary urn that purported to contain Ivan’s ashes.

Defendants attempted to palm-off an empty funerary urn as containing Ivan’s cremains. Plaintiff

discovered Defendants’ deception when she later received an email from Defendant Conner

suggesting that the Funeral Home had, instead, secretly buried Ivan.

13.    Plaintiff sues the Defendants herein for (i) breach of contract; (ii) negligence; (iii) gross

negligence; (iv) malicious fraud; (v) misrepresentation; (vi) unfair or deceptive trade practices in

violation of Maryland law; and (vii) intentional infliction of emotional distress. Plaintiff seeks

punitive damages as permitted under Maryland law for actual malice for the intentional torts of

fraud and infliction of emotional distress and for gross negligence.

                                  FACTUAL ALLEGATIONS

14.    Wylie Funeral Home, P.A. and Wylie Funeral Home, P.A. of Baltimore County are

ostensibly separate companies although they hold themselves out to the public as a single entity

or enterprise operating from two locations. Both the Randallstown Home and the Mount Street

Home use the same contract form with a check box to designate the location of services. Both

share the same principal business location, use the same website (i.e., wyliefh.com) and share

costs, advertising, social media, equipment, and personnel and as such operate as a single

enterprise.

15.    On information and belief, the individual Defendants Albert Wylie and Brandon Wylie,

as owners, principals, officers, and directors of the Funeral Home enterprise direct, control,




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coordinate, and orchestrate all aspects, actions, and decisions of the Funeral Home and of its

employees and agents.

16.     On information and belief, the individual Defendants Conner and Livingston, who are

nominally employed by the Mount Street Home, in fact, work for the Funeral Home enterprise

and together and individually direct, control, coordinate, and orchestrate many aspects and

actions of the Funeral Home enterprise.

17.     Plaintiff is the widow of Ivan Tyrone Street. Plaintiff married Ivan on April 22, 2016.

18.     Ivan died on January 9, 2021. His body was taken to the Mount Street Home to await

identification and funeral arrangements.

19.     On information and belief, Defendants’ initial interaction with Ivan’s family was between

Conner and Rita Jeffers (“Jeffers”), who was Ivan’s cousin.

20.     Jeffers supplied relevant personal information to Conner about Ivan for the purposes of

Ivan’s Death Certificate. Jeffers is listed as “Informant” on Ivan’s Death Certificate.

21.     Jeffers told Conner that Ivan was married to the Plaintiff. Jeffers provided Conner with

Plaintiff’s telephone number and contact information who thereafter called Plaintiff to tell her

that Ivan had passed away and requested that she come to the Mount Street Home to identify the

body.

22.     On January 13, 2021, Plaintiff met with Livingston and Conner, identified Ivan’s body,

and authorized a direct cremation. Plaintiff provided Livingston and Conner with her gold-sealed

official marriage certificate confirming her marriage to Ivan.

23.     On January 13, 2021, Plaintiff contracted with the Funeral Home for Ivan’s direct

cremation and a memorial service at a price of $2,500 (the “Contract”). Plaintiff provided

Defendants with a $650 voucher request to the Maryland Department of Human Resources for



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burial assistance. The Contract committed Plaintiff and Ivan’s family members to pay the

Funeral Home the remaining $1,850 for Ivan’s funeral goods and services. The Contract

provided: “I hereby acknowledge that I have the legal right to arrange the funeral services for the

deceased and I authorize the funeral establishment to perform services, furnish goods, and incur

outside charges specified on this Statement.”

24.    On information and belief, shortly after Plaintiff arranged and tendered the voucher for

Ivan’s cremation and memorial service, a woman who identified herself as Renee Cook (“Cook”)

went to the Mount Street Home and also claimed to be Ivan’s spouse.

25.    On information and belief, Cook provided Defendants an unsealed marriage license dated

October 24, 1997. Defendant Conner telephoned Plaintiff to inform her that Cook was claiming

to be Ivan’s spouse and that Cook was insisting that Ivan be buried. Plaintiff told Conner to

ignore Cook, that Cook had no authority or right to make any changes to Ivan’s funeral

arrangements. Plaintiff reaffirmed for Conner that Plaintiff was Ivan’s widow and that Plaintiff’s

instructions for the cremation were to be followed and adhered to.

26.    Defendants knew, or upon reasonable inquiry of readily available public information

posted on an official State of Maryland website, should have known, that Plaintiff was Ivan’s

spouse at the time of his death.

27.    Defendants knew, or should reasonably have concluded, based upon (i) information that

Jeffers, as informant, provided to Conner in preparation of Ivan’s Death Certificate; (ii)

Plaintiff’s presentation to Defendants of a gold-sealed marriage certificate dated April 22, 2016;

(iii) examination of an unsealed marriage license provided by Cook to Defendants, dated October

24, 1997, and (iv) readily available public information, that Plaintiff was Ivan’s spouse at the

time of his death.



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28.       At a time between January 14, 2021 and January 21, 2021, Plaintiff telephoned the

Funeral Home and attempted to speak with Defendant Conner for the purpose of discussing the

time and date for the memorial service. Instead of being able to speak with Conner, the Funeral

Home’s telephone receptionist re-routed Plaintiff’s call to either Defendant Albert Wylie or

Brandon Wylie. The voice on the telephone, who identified himself to Plaintiff as Mr. Wylie,

told Plaintiff that he had decided that the Funeral Home would follow Cook’s instructions and

would bury Ivan. When Plaintiff protested and told him no, he sarcastically taunted her by

asking: “So, what are you going to do about it?” or words to that effect. Then, he abruptly ended

the telephone call.

29.       On January 22, 2021, Conner telephoned Plaintiff to tell her that Defendants had rejected

Cook’s instructions and confirmed that the Defendants would conduct the planned memorial

service for Ivan at the Mount Street Home (the “Memorial Service”) the next day, January 23,

2021. When Conner made those statements on behalf of Funeral Home to Plaintiff, he knew his

statements were false, and that Ivan had not been cremated and in fact had already been secretly

buried.

30.       On information and belief, Defendants recorded the Memorial Service and made the

recording available to interested mourners through the Funeral Home’s website. Despite Plaintiff

demanding that Defendants preserve all evidence in this case, including any such recordings,

Defendants now claim that they did not record the Memorial Service. Plaintiff believes and thus

avers that Defendants recorded the Memorial Service and have been untruthful in denying that

fact.




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31.    In connection with the Memorial Service, Defendants produced a printed program (the

“Program”) bearing the Funeral Home’s logo, and business information, and noting that the

“Program [was] Designed by The Wylie Funeral Home Print Shop.”

32.    Using Ivan’s middle name, the Program stated that “Tyrone was married later to Ms.

Dimetra [sic] Street.” At the Memorial Service, Plaintiff, as Ivan’s widow, delivered a tribute to

her late husband. The Program listed “Remarks—Demetra Street” as the fifth item in the “Order

of Service.” Plaintiff remarks at the Memorial Service were offered as a tribute in song.

33.    Defendants configured the seating and arrangement of the meeting room for the

Memorial Service. Plaintiff sat in the front row. The centerpiece of the Memorial Service was a

funerary urn located next to Ivan’s framed photograph.

34.    Immediately following the Memorial Service, a Funeral Home employee quicky removed

from the meeting room the funerary urn purporting to contain Ivan’s cremains and secreted the

urn away. Funeral Home personnel pretended that the urn contained Ivan’s remains even though

they knew that the urn was empty because the Funeral Home had already secretly interred his

body three days earlier on January 20, 2021.

35.    Despite Plaintiff’s repeated requests that she receive Ivan’s ashes, Defendants refused to

allow her or anyone else to obtain the ashes or to see the funerary urn once the Memorial Service

had concluded.

36.    On January 25, 2021, Defendant Conner sent Plaintiff an email that read, “Tomorrow I’ll

look forward to receiving the resting location at Mt. Zion Cemetery.

37.    Confused and surprised by Defendant Conner’s email, Plaintiff telephoned Defendant

Conner seeking an explanation and clarification about the meaning of the email. Instead of being

able to speak with Conner, the Funeral Home’s telephone receptionist again re-routed Plaintiff’s



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call to either Defendant Albert Wylie or Brandon Wylie. The voice on the telephone, who

identified himself to Plaintiff as Mr. Wylie, told Plaintiff that just as he said he would do, the

Funeral Home had buried Ivan. When Plaintiff told him what he had done was wrong and against

her wishes, Wylie responded: “Well, that’s what we did” or words to that effect. Then, he

abruptly hung up the phone.

38.    In the days and weeks following the Memorial Service, Plaintiff Ivan’s Death Certificate

from the Funeral Home but did not receive it despite repeated requests therefor.

39.    After being unable to obtain a copy of Ivan’s Death Certificate, and out of frustration,

Plaintiff requested a copy of the Death Certificate directly from the Maryland Department of

Health Division of Vital Statistics.

40.    Plaintiff was shocked and emotionally devastated by what she learned upon receiving the

Death Certificate.

41.    Defendant Conner had reported false information to the Maryland Department of Health

for inclusion in the Death Certificate. Rather than report what the informant, Jeffers had told

him, namely that Plaintiff was Ivan’s spouse, Defendant Conner instead falsely and intentionally

reported the surviving spouse’s name as “Unknown.”

42.    The Death Certificate also confirmed for Plaintiff that her husband had been buried at

Mount Zion Cemetery, in Baltimore, on January 20, 2021 (the “Burial”). The Burial, which took

place three days before Memorial Service, was conducted by the Defendants without Plaintiff’s

knowledge, permission, or authorization. The Burial contravened Plaintiff’s express

authorization and those actions by Defendants constituted a breach of contract.

43.    Defendants conspired to bury Ivan without the permission of Plaintiff and actively to

conceal the Burial from Plaintiff and other family members.



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44.     Because Defendants concealed the Burial from Plaintiff, she was excluded from attending

Ivan’s Burial, paying her last respects, and participating in a graveside service.

45.     Through artifice and deception, Defendants conducted a sham Memorial Service by

falsely, fraudulently, and maliciously misleading the Plaintiff and others to believe that Ivan had

been cremated and that his ashes were contained in the funerary urn that Defendants displayed at

the Memorial Service. All the while, even though Defendants knew that Ivan had never been

cremated and that his body had, in fact, already been buried, they instead falsely, fraudulently,

and maliciously deceived the Plaintiff and others and led them to believe that Ivan’s body had

been cremated and that his ashes had been deposited in the funerary urn.

46.     Plaintiff by voucher and through Ivan’s family paid the Funeral Home the sum of $2,500

for a cremation that was never performed and a sham Memorial Service. On information and

belief, the Funeral Home double charged the bereaved parties by also billing Cook for the cost of

a casket, plot, and burial.

47.     Defendants failed to monitor or police their website, allowing and continuing to allow

scandalous and hurtful postings to remain on the Funeral Home’s remembrance page, including

the following posting by Renee Cook (a/k/a Renee Wright) which embarrassed, humiliated, and

emotionally distressed Plaintiff: “To the memory of my beloved husband. You were my best

friend. The many loving memories I have of the tie we shared will forever comfort me in your

absence. . . . You will be sorely missed my love.” Defendants even misspelled Ivan’s name on

its website, incorrectly referring to him in bold letters as “Ivan Tryome [sic] Street.”

48.     In the days and months following the Burial, despite Plaintiff’s repeated inquires,

Defendants withheld and continue to withhold vital and important information from the Plaintiff

causing her constant worry, anxiety, and emotional distress, including refusing to disclose



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whether Ivan had been cremated (Plaintiff independently confirmed on June 24, 2021 that Ivan’s

body was not cremated and Defendants eventually acknowledged this on July 6, 2021).

49.    Defendants have never offered any apology or explanation to Plaintiff about what

occurred in connection with Defendants’ handling of Ivan’s body, or his funeral, Burial, or

Memorial Service.

50.    Defendants have never disclosed to Plaintiff how or to whom the funeral or Burial were

billed and have never offered to refund money to the Plaintiff.

51.    Defendants now falsely and fraudulently claim that they notified Plaintiff in advance of

the Burial of its time, date, and place. Plaintiff avers and alleges that she never received any such

email, and that Defendants are lying about sending the email. Plaintiff has demanded proof that

Defendants sent the email, but Defendants have been unable or unwilling to produce a copy or

other record of the email.

52.    Defendants lacked any legal authority to countermand Plaintiff’s authorization for a

cremation or permission by Plaintiff to conduct the Burial.

53.    Defendants have acted cruelly and maliciously in knowingly inflicting emotional injury

on Plaintiff. Defendants knew that Ivan had been buried on January 20, 2021, but actively

concealed the Burial from Plaintiff and through words and actions falsely and fraudulently

represented to Plaintiff that Defendant had been cremated and that his ashes were contained in

the mock funerary urn.

54.    Defendants scheduled the Memorial Service with the intent to deceive Plaintiff knowing

full well that they had already conducted the Burial, having every intention to conceal the Burial

from Plaintiff by employing a mock Memorial Service and phony funerary urn.




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55.    Defendants’ false representations and deceitful acts were made or done with actual

malice in that Defendants’ false representations or deceitful acts were made or done with a

conscious and deliberate sense of wrongdoing, evil and wrongful motive, intent to injure, ill-will,

and fraud.

56.    Plaintiff relied on Defendants’ representations and invested her emotions, singing at the

Memorial Service to honor the memory of her late husband. Plaintiff would have stopped the

Burial and engaged the services of an honest funeral home if she had known that Defendants

were engaged in a conspiracy to thwart her wishes, abuse her trust, mistreat Ivan’s body, and

make a mockery of her and the Memorial Service.

57.    Plaintiff had the right to rely on Defendants’ promises in the funeral contract and the

statements and actions of the Defendants with respect to the Memorial Service and the

legitimacy of the funerary urn.

58.    In addition to Defendants’ breach of the funeral contract, Plaintiff suffered injury as a

direct and proximate result of the Defendants’ intentionally false promises, and false and

deceptive actions and Plaintiff continues to suffer from Defendants’ continuing to inflict damage

on Plaintiff’s mental and emotional state.

59.    Plaintiff has experienced severe emotional distress (i) having not been able to pay her last

respects to her husband; (ii) having not been at the graveside; (iii) having not been able to assure

a proper Christian burial for Ivan; (iv) being unaware for several days of the location of Ivan’s

grave; (v) being unaware for more than six months whether Ivan had been cremated; (vi)

suffering the indignity and inconvenience of having Ivan’s Death Certificate list his spouse’s

name as “unknown;” (vii) having the Defendants make a mockery of the Memorial Service and

forever ruining an otherwise beautiful and solemn religious ceremony; (viii) having the



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Defendants impugn and denigrate the sanctity of Plaintiff’s marriage to Ivan; (ix) having had her

wishes for Ivan’s afterlife ignored; and (x) Defendants having continued to engage in an ongoing

conspiracy to coverup their wrongful and fraudulent acts and deeds. Plaintiff has been and is

continuing to be damaged by Defendants’ wrongful acts.

60.    Because of Defendants’ intolerable, wrongful, deceitful, and outrageous conduct,

Plaintiff has been permanently and severely emotionally and psychologically injured. Plaintiff is

under the care of a psychiatrist who has prescribed Zoloft for treatment of depression, panic

attacks, post-traumatic stress disorder, and social anxiety disorder. Plaintiff is under the regular

care of a licensed therapist. Plaintiff experiences regular, untimely, and uncontrollable episodes

of crying, emotional upset, and sadness, panic, and anxiety. Plaintiff now suffers from insomnia,

uncontrolled eating, weight gain, headaches, and malaise. When Plaintiff can sleep, she is

frequently awakened by upsetting nightmares. Plaintiff is experiencing severe anxiety and has

withdrawn from most social interaction.

61.    On information and belief, Defendants have profited from their breach of contract by

charging the Plaintiff for a cremation that was never performed.

                                          COUNT ONE
                                       (Breach of Contract)

62.    The allegations of paragraphs 1 through 61 are incorporated herein by reference.

63.    Defendants jointly and severally breached the terms of the Contract by failing (i) to cause

Ivan’s cremation; (ii) ignoring the authorization to cremate Ivan’s body and to instead conduct

the Burial; (iii) ignoring their fiduciary duties to handle Ivan’s body respectfully; (iv) conducting

a sham Memorial Service; (iv) submitting false and fraudulent information to the Maryland

Department of Health regarding the name of Ivan’s spouse; (v) charging Plaintiff for services




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that Defendants never performed; (vi) deceiving the Plaintiff with respect to the performance of

the Contract.

64.    Plaintiff has been damaged and has suffered an actual compensable loss to be proved at

trial because of Defendants’ breach of the Contract.

                                           COUNT TWO
                                            (Negligence)

65.    The allegations of paragraphs 1 through 64 are incorporated herein by reference.

66.    The Funeral Home employed various funeral directors, morticians, embalmers,

attendants, drivers, and other funeral home personnel, including, without limitation, Defendants

Albert Wylie, Brandon Wylie, Conner, and Livingston, and these employees/servants/agents

were acting with the scope of their employment with Funeral Home when they undertook the

care and custody of Ivan’s body and assumed their duties under the funeral contract. They, and

each of them, failed to follow the applicable standard and duty of care owed to Plaintiff in

observing her wishes and direction and in caring for the body of her deceased spouse, which

proximately resulted in injury to the Plaintiff.

67.    The standard and duty of care applicable to Defendants for the treatment of decedent’s

body and to the authorized next-of-kin and family included the duty (i) to provide and transmit

accurate information to the Maryland Department of Health for the Death Certificate; (ii) to

follow the authorized next-of-kin’s wishes and direction as expressed in the funeral contract; (iii)

to act with honesty and integrity when dealing with the public and the authorized next-of-kin;

(iv) to make reasonable inquiry from readily available information to ascertain material facts

relative to a decedent; (v) to remove scurrilous comments from public postings on the Funeral

Home’s website; (vi) to abide by the terms of the funeral contract and to charge only for

authorized services and goods; (vii) to keep the authorized next-of-kin informed with accurate

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information; (viii) to treat the remains of the decedent with care and respect; (ix) to not dishonor

or denigrate the decedent; and (x) to observe the solemnity and religiosity of the funeral process.

68.    The Funeral Home, by and through its various funeral directors, morticians, embalmers,

attendants, drivers, and other funeral home personnel, including, without limitation, Defendants

Albert Wylie, Brandon Wylie, Conner, and Livingston, breached the standard and duty of care

applicable to Defendants for the for the treatment of decedent’s body and to the authorized next-

of-kin and family including the duty (i) to provide and transmit accurate information to the

Maryland Department of Health for the Death Certificate; (ii) to follow the authorized next-of-

kin’s wishes and direction as expressed in the funeral contract; (iii) to act with honesty and

integrity when dealing with the public and the authorized next-of-kin; (iv) to make reasonable

inquiry from readily available information to ascertain material facts relative to a decedent; (v) to

remove scurrilous comments from public postings on the Funeral Home’s website; (vi) to abide

by the terms of the funeral contract and to charge only for authorized services and goods; (vii) to

keep the authorized next-of-kin informed with accurate information; (viii) to treat the remains of

the decedent with care and respect; (ix) to not dishonor or denigrate the decedent; and (x) to

observe the solemnity and religiosity of the funeral process.

69.    As a direct and proximate result of Defendants failure to observe the standard of duty and

care described above, and by breaching the aforesaid standard of duty and care owed to Plaintiff,

by and through its employees and agents, the Plaintiff was caused injury.

70.    All injuries sustained by Plaintiff resulted from the actions, omissions, and breaches of

the applicable standard of funeral home care by the Defendants by and through its

employees/agents/servants, without any act or omission on the part of the Plaintiff herein,

directly thereunto contributing.



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71.    Plaintiff herein did not assume the risk of injury suffered by her as the result of

Defendants’ negligence.

72.    As a direct and proximate result of the negligent actions and breaches of the applicable

duties and standards of care by Defendants, Plaintiff suffered emotional injuries, physical

injuries, conscious pain and suffering, and other damages.

73.    Plaintiff has been damaged and has suffered an actual compensable loss to be proved at

trial because of Defendants’ negligence.

                                        COUNT THREE
                                       (Gross Negligence)

75.    The allegations of paragraphs 1 through 74 are incorporated herein by reference.

76.    The Funeral Home employed various funeral directors, morticians, embalmers,

attendants, drivers, and other funeral home personnel, including, without limitation, Defendants

Albert Wylie, Brandon Wylie, Conner, and Livingston, and these employees/servants/agents

were acting with the scope of their employment with Funeral Home when they undertook the

care and custody of Ivan’s body and assumed their duties under the funeral contract. They, and

each of them, willfully and wantonly failed to follow the applicable standard and duty of care

owed to Plaintiff in observing her wishes and direction and in caring for the body of her

deceased spouse, which proximately resulted in injury to the Plaintiff.

77.    The standard and duty of care applicable to Defendants for the treatment of decedent’s

body and to the authorized next-of-kin and family included the duty (i) to provide and transmit

accurate information to the Maryland Department of Health for the Death Certificate; (ii) to

follow the authorized next-of-kin’s wishes and direction as expressed in the funeral contract; (iii)

to act with honesty and integrity when dealing with the public and the authorized next-of-kin;

(iv) to make reasonable inquiry from readily available information to ascertain material facts

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relative to a decedent; (v) to remove scurrilous comments from public postings on the Funeral

Home’s website; (vi) to abide by the terms of the funeral contract and to charge only for

authorized services and goods; (vii) to keep the authorized next-of-kin informed with accurate

information; (viii) to treat the remains of the decedent with care and respect; (ix) to not dishonor

or denigrate the decedent; and (x) to observe the solemnity and religiosity of the funeral process.

78.    The Funeral Home, by and through its various funeral directors, morticians, embalmers,

attendants, drivers, and other funeral home personnel, including, without limitation, Defendants

Albert Wylie, Brandon Wylie, Conner, Livingston, and other Funeral Home personnel willfully

and wantonly breached the standard and duty of care applicable to Defendants for the treatment

of decedent’s body and to the authorized next-of-kin and family including the duty (i) to provide

and transmit accurate information to the Maryland Department of Health for the Death

Certificate; (ii) to follow the authorized next-of-kin’s wishes and direction as expressed in the

funeral contract; (iii) to act with honesty and integrity when dealing with the public and the

authorized next-of-kin; (iv) to make reasonable inquiry from readily available information to

ascertain material facts relative to a decedent; (v) to remove scurrilous comments from public

postings on the Funeral Home’s website; (vi) to abide by the terms of the funeral contract and to

charge only for authorized services and goods; (vii) to keep the authorized next-of-kin informed

with accurate information; (viii) to treat the remains of the decedent with care and respect; (ix)

to not dishonor or denigrate the decedent; and (x) to observe the solemnity and religiosity of the

funeral process.

79.    Defendants acted with extreme and wanton disregard and willful indifference towards

Plaintiff’s sensibilities, emotions, and physical health in breaching their duties and standards of




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care owed to the Plaintiff. Defendants were reckless in their conduct toward the Plaintiff when

the harm to Plaintiff was both foreseeable and certain.

80.       As a direct and proximate result of Defendants willful and wanton failure to observe the

standard of duty and care described above, and by breaching the aforesaid standard of duty and

care owed to Plaintiff, by and through its employees and agents, the Plaintiff was caused severe

injury.

81.       All the injuries sustained by Plaintiff resulted from the grossly negligent actions and

willful and wanton breaches of the applicable standard of funeral home care by the Defendants

by and through its employees/agents/servants, without any act or omission on the part of the

Plaintiff herein, directly thereunto contributing.

82.       Plaintiff herein did not assume the risk of injury suffered by her as the result of

Defendants’ gross negligence.

83.       As a direct and proximate result of the grossly negligent actions and the willful and

wanton breaches of the applicable duties and standards of care by Defendants, Plaintiff suffered

emotional injuries, physical injuries, conscious pain and suffering, and other damages.

84.       Plaintiff has been damaged and has suffered an actual compensable loss to be proved at

trial because of Defendants’ gross negligence. Plaintiff is entitled to punitive damages against the

Defendants because of Defendants’ gross negligence and behavior that is intolerable in a

civilized society.

                                            COUNT FOUR
                                           (Malicious Fraud)

85.       The allegations of paragraphs 1 through 84 are incorporated herein by reference.




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86.    Defendants knowingly and maliciously made false representations to Plaintiff by word

and action to deceive the Plaintiff and trick her into believing that Ivan had been cremated and to

conceal his unauthorized Burial.

87.    Such statements and actions were made for the purpose of defrauding Plaintiff with the

Defendants knowing that Plaintiff would rely or act upon the falsehood as part of Defendants’

fraud scheme.

88.    Plaintiff relied on Defendants’ falsehoods to her detriment, among other things being

unable to halt the Burial, and singing in a heartfelt manner at the sham Memorial Service hosted

by Defendants and was damaged thereby.

89.    Defendants have profited from their malicious fraud by charging for goods and services

that they did not provide to Plaintiff.

90.    Plaintiff has been damaged and has suffered an actual compensable loss to be proved at

trial because of Defendants’ malicious fraud. Plaintiff claims punitive damages for Defendants’

knowingly malicious fraud scheme.

                                            COUNT FIVE
                                          (Misrepresentation)

91.    The allegations of paragraphs 1 through 90 are incorporated herein by reference.

92.    The Funeral Home owed contractual obligations and a duty of care to Plaintiff pursuant

to a written agreement to provide funeral goods and services to Plaintiff, including causing the

cremation of Ivan’s body and conducting a legitimate Memorial Service.

93.     Defendants made numerous false representations through words, statements, and acts to

the Plaintiff intending that the Plaintiff would rely or act upon those false representations to her

detriment.




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94.     The falsity of Defendants’ words, statements, and acts were either known to the

Defendants or the false representations were made with reckless indifference as to their truth.

95.     Defendants’ misrepresentations were made for the purpose of defrauding or deceiving the

Plaintiff.

96.     Plaintiff justifiably and reasonably relied and acted on the Defendants’

misrepresentations and had the right to rely and act on them.

97.     Plaintiff has been damaged and has suffered an actual compensable loss proximately

caused by Defendants’ misrepresentations in an amount to be proved at trial.

                                          COUNT SIX
               (Unfair or Deceptive Trade Practices in Violation of Maryland Law)

98.     The allegations of paragraphs 1 through 97 are incorporated herein by reference.

99.     Defendants’ actions in wrongfully (i) making false, or misleading oral statements, and

visual depictions having the capacity, tendency, or effect of deceiving Plaintiff; (ii) failing to

state material facts which failures deceived or were intended to deceive Plaintiff; and (iii)

engaging in deception, fraud, false pretense, false premise, misrepresentation, or knowing

concealment, suppression, or omission of material facts with the intent that Plaintiff would rely

on the same in connection with the funeral goods and services offered by Defendants constitute

unfair or deceptive trade practices under the Maryland Consumer Protection Act (MD. COM. LAW

CODE ANN. § 13-101 et seq.).

100.    Plaintiff has been damaged and has suffered an actual compensable loss to be proved at

trial because of Defendants’ unfair and deceptive business practices in violation of Maryland

law.




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                                        COUNT SEVEN
                          (Intentional Infliction of Emotional Distress)

101.   The allegations of paragraphs 1 through 100 are incorporated herein by reference.

102.   Defendants’ actions, lies, deceit, and acts to inflict mental cruelty on Plaintiff by

falsifying the Death Certificate, conducting a secret Burial, arranging a sham Memorial Service

using a fake funerary urn as prop, failing to police or monitor it website, and covering-up its

wrongdoing, was intentional, reckless, extreme, and outrageous. Such extreme conduct was

beyond all decency, atrocious and utterly intolerable in a civilized society and is beyond that

which any person should be expected to endure.

103.   Defendants abused the special trust that a grieving widow places in a funeral home at a

time of great loss.

104.   Defendants’ outrageous conduct caused and continues to cause Plaintiff severe emotional

distress. Because of Defendants’ intolerable, wrongful, deceitful, and outrageous conduct,

Plaintiff has been permanently and severely emotionally and psychologically injured. Plaintiff is

under the care of a psychiatrist who has prescribed Zoloft for treatment of depression, panic

attacks, post-traumatic stress disorder, and social anxiety disorder. Plaintiff is under the regular

care of a licensed therapist. Plaintiff experiences regular, untimely, and uncontrollable episodes

of crying, emotional upset, and sadness, panic, and anxiety. Plaintiff now suffers from insomnia,

uncontrolled eating, weight gain, headaches, and malaise. When Plaintiff can sleep, she is

frequently awakened by upsetting nightmares. Plaintiff is experiencing severe anxiety and has

withdrawn from most social interaction.

105.   Plaintiff has been damaged and has suffered severe and debilitating emotional injuries

and an actual compensable loss to be proved at trial caused by Defendants’ outrageous and




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intolerable conduct. Plaintiff claims punitive damages for Defendants’ knowingly malicious

actions, deceptions, and intentional, outrageous, and intolerable conduct.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment awarding

the following:

       As against all Defendants, jointly and severally, monetary damages in the amount of

$3,500,000 plus interest to the date of judgment.

       As against all Defendants, jointly and severally, punitive damages for malicious

fraudulent conduct, gross negligence, and intentional infliction of emotional distress in the

amount of $5,000,000 plus interest to the date of judgment.

       As against all Defendants jointly and severally, reasonable costs and attorney fees.

       Such other relief as this Court may deem just and proper.



                                      ______________/s/__________________
                                      Alexander J. Coffin (Bar No. 21680)

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                                      Email: alex.COFFINLAW@gmail.com

                                      Attorney for Plaintiff, Demetra Street
August 4, 2021




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                                        JURY DEMAND

      Plaintiff demands a trial by jury on all triable issues of fact.



                                      ____________/s/____________________
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